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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                                      No. 15-1090


              MARGARET P. TOURTELLOTTE; KARLA KREIGER;
            ASHLEY C. HISER; ANA V. REYES; JENNIFER A. KOVER

                                           v.

                ELI LILLY AND COMPANY; TIMOTHY ROWLAND

               MARGARET P. TOURTELLOTTE; KARLA KREIGER;
                    ASHLEY C. HISER; ANA V. REYES,
                                                Appellants


                    On Appeal from the United States District Court
                       for the Eastern District of Pennsylvania
                            (D.C. Civil No. 2:09-cv-00774)
                     District Judge: Honorable Petrese B. Tucker


                   Submitted Pursuant to Third Circuit L.A.R. 34.l(a)
                                  December 7, 2015


       Before: FUENTES, SHWARTZ, and VAN ANTWERPEN, Circuit Judges.



                                     JUDGMENT


      This cause came to be considered on the record from the District Court for the

Eastern District of Pennsylvania and was submitted pursuant to Third Circuit LAR

34.l(a) on December 7, 2015.
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       On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

Court that the JUDGMENTS of the District Court entered April 16, 2013, April 17, 2013,

and January 29, 2014 are AFFIRMED. All of the above in accordance with the foregoing

Opinion of this Court.



                                              ATTEST:



                                              s/ Marcia M. Waldron,

                                              Clerk

Dated: January 13, 2016
